       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 1 of 37




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

KATELYN EBNER, PRINCESS               )
MBAMARA, AYOKUNLE                     )
ORIYOMI and BRITTANY                  )
PENWELL,                              )
                                      )
      Plaintiffs,                     )       CIVIL ACTION NO.
                                      )       1:17-cv-03722-WSD
v.                                    )
                                      )
COBB COUNTY, through its              )
instrumentality the COBB COUNTY       )
POLICE DEPARMTENT; and                )
OFFICER TRACY CARROLL a.k.a.          )
“T.T.” CARROLL, in his individual     )
capacity,                             )
                                      )
     Defendants.                      )
_____________________________         )

                       DEFENDANTS’ ANSWER TO
                      FIRST AMENDED COMPLAINT

      COME NOW Defendants’ Cobb County, Georgia and Officer Tracy Carroll

and Answer Plaintiffs’ First Amended Complaint as follows:

                               FIRST DEFENSE

      The Complaint fails to state a claim against the Defendants upon which relief

can be granted.




                                          1
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 2 of 37




                               SECOND DEFENSE

      Plaintiffs’ claims against Defendant Carroll in his individual capacity are

barred by the doctrine of qualified immunity.

                                THIRD DEFENSE

      Plaintiffs’ state law claims are barred by the doctrines of sovereign and official

immunity.

                               FOURTH DEFENSE

      Defendant Cobb County may not be held liable under the theory of respondeat

superior for actions of servant employees.

                                 FIFTH DEFENSE

      Some or all of Plaintiffs’ claims for damages, if any, were caused by acts

and/or by the failure to act of persons and/or entities other than Defendants.

                                SIXTH DEFENSE

      To the extent that Plaintiffs seek punitive damages, such damages are barred

or limited in accordance with federal and/or state law. Moreover, the alleged acts

and omissions of Defendants fail to rise to the level required to sustain an award of

punitive damages, and in any event do not approach wanton or willful misconduct.




                                          2
        Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 3 of 37




                               SEVENTH DEFENSE

       Defendants deny that Plaintiffs were subjected to the deprivation of any rights

or privileges secured by the Constitution or by federal or state laws.

                               EIGHTH DEFENSE

       Defendants deny any breach, by any act or omission to act, of any duty owed

to Plaintiff.

                                NINTH DEFENSE

       Defendants respond to the statements and individually numbered paragraphs

of the Complaint as follows:

                            NATURE OF THE CASE

                                          1.

       ALLEGATION: This case seeks to vindicate the Fourth Amendment rights

of three innocent Georgians-Katelyn Ebner, Princess Mbamara, Ayokunle Oriyomi,

and Brittany Penwell-all of whom were falsely arrested, forced to have their blood

drawn, and trapped in a jail cell for hours, simply because a police officer had a

hunch, based on deeply flawed drug-recognition training, that they might have been

smoking marijuana. At no point did the police officer seek to obtain a warrant or

suggest that they were endangering public safety. None of the Plaintiffs were under

the influence of marijuana, and all tested negative for any cannabinoid metabolites.


                                          3
        Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 4 of 37




Nevertheless, the Plaintiffs were arrested and charged with driving under the

influence of drugs. Ultimately, all driving under the influence charges against all

Plaintiffs were dropped.

       ANSWER: Plaintiffs’ preliminary statement is an assertion of their belief of

the nature of the case to which it appears no response is required. To the extent that

a response is required, Defendants deny violating any of Plaintiffs’ state or federal

constitutional rights. Defendants note there are four Plaintiffs, not three.

                                           2.

       ALLEGATION: All three Plaintiffs now have public arrest records that they

will have to explain to schools, landlords, and employers for the rest of their lives.

       ANSWER: Plaintiffs’ preliminary statement is an assertion of their belief of

the nature of the case to which it appears no response is required. To the extent that

a response is required, Defendants are without sufficient information at this time to

admit or deny the allegations contained in Paragraph 2 regarding the existence of

arrest records and what Plaintiffs will have to explain. Further, Defendants deny

violating any of Plaintiffs’ state or federal constitutional rights.   Defendants note

there are four Plaintiffs, not three.




                                           4
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 5 of 37




                                           3.

      ALLEGATION: This action seeks to enforce Plaintiffs’ Fourth Amendment

rights against unlawful seizures pursuant to 42 § U.S.C. 1983, in which they seek

normal, compensatory, and punitive damages.

      ANSWER: Plaintiffs’ preliminary statement is an assertion of their belief of

the nature of the case to which it appears no response is required. To the extent that

a response is required, Defendants state that the statute referred to in this paragraph

speaks for itself. Responding further, Defendants deny violating any of Plaintiffs’

state or federal constitutional rights.

                           JURISDICITON AND VENUE

                                           4.

      ALLEGATION: This is a civil and constitutional rights action arising under

42 U.S.C. § 1983 and the Fourth Amendment to the United States Constitution. This

Court has Jurisdiction under 28 U.S.C §§ 1331 AND 1343.

      ANSWER: Defendants admit that the Court has general jurisdiction; the

Statutes referred to in this Paragraph speak for themselves.

                                           5.

      ALLEGATION: Venue in this Court is proper under 28 U.S.C. § 1391

because the events giving rise to Plaintiffs’ claims arose in this district and division.


                                           5
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 6 of 37




Defendants Cobb County Police Department is located within this district and

division.

      ANSWER: Defendants admit that Defendants are subject to the jurisdiction

of the Court. The Statute referred to in this Paragraph speaks for itself.

                                        PARTIES

                                           6.

      ALLEGATION: Plaintiff Katelyn Ebner is 25 years old, was raised in

Kennesaw, Georgia, and received her certification from the International School of

Skin, Nailcare and Massage Therapy in 2014. She currently works as a waitress at

a restaurant where she is often required to work late at night and in back-to-back

shifts. She had no arrest record prior to the events at issue in this case.

      ANSWER: Defendants are without sufficient information at this time to

admit or deny the allegations contained in Paragraph 6 regarding Plaintiff’s status,

and, therefore deny said allegations.

                                           7.

      ALLEGATION: Plaintiff Princess Mbamara is 27 years old and is currently

a student and biology major at Atlanta Metropolitan State College. She was born in

Lagos, Nigeria and immigrated to the United States with her family in 1997 at the




                                           6
        Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 7 of 37




age of 7, and is applying to become a United States citizen. She is planning to attend

medical school.

       ANSWER: Defendants are without sufficient information at this time to

admit or deny the allegations contained in Paragraph 7 regarding Plaintiff’s status,

and, therefore deny said allegations.

                                          8.

       ALLEGATION: Plaintiff Ayokunle Oriyomi is 21 years old and was under

the age of 21 at the time of the incident. He was born and raised in the town of

Powder Springs in Cobb County, Georgia, and is currently a student and an

accounting major at Auburn University. He frequently returns home to Powder

Springs to visit his family and friends. He had no arrest record prior to the events at

issue in this case.

       ANSWER: Defendants are without sufficient information at this time to

admit or deny the allegations contained in Paragraph 8 regarding Plaintiff’s status,

and, therefore deny said allegations.

                                          9.

       ALLEGATION: Plaintiff Brittany Penwell is 21 years old and was under

the age of 21 at the time of the incident. She was born and raised in the town of Blue

Ridge, Georgia, and is currently a stay-at-home mom in Ducktown, Tennessee. She


                                          7
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 8 of 37




used to visit family in Austell, Georgia on a regular basis, but has not returned to

Cobb County after the events of this Complaint.

      ANSWER: Defendants are without sufficient information at this time to

admit or deny the allegations contained in Paragraph 9 regarding Plaintiff’s status,

and, therefore deny said allegations.

                                        10.

      ALLEGATION: Defendant Cobb County Police Officer and so-called Drug

Recognition Expert (hereinafter “DRE”) Tracy “T.T.” Carroll is sued in his

individual capacity. At all times relevant to the Complaint, Carroll acted under the

color of law. The supervisors in his chain of command during the relevant time

period were Gregory Lane Johnson, then-Lieutenant Greg Abbott, Major R.C.

Sampson, Deputy Chief Ronnie Price, and then-Chief John Houser. Plaintiffs

reserve the right to substitute and/or join additional Defendants as new information

arises concerning Defendant Carroll’s supervision.

      ANSWER: Defendants admit that Defendant Carroll was at all times relevant

an officer with the Cobb County Police Department and that Defendant Carroll acted

within the scope of his employment during the incident at issue. Defendants admit

to the supervisors in his chain of command as stated except that “Ronnie Price” is




                                         8
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 9 of 37




Ronnie Prince. Plaintiffs may amended the complaint pursuant to Federal Rules.

Defendants deny all other allegations in Paragraph 10.

                                        11.

      ALLEGATION: Defendant Cobb County is a Georgia municipality subject

to suit. The Cobb County Police Department is an instrumentality of Cobb County.

      ANSWER: Defendants deny that Cobb County is a Georgia municipality as

stated in Paragraph 11.

                          FACTUAL ALLEGATIONS

                                  Katelyn Ebner

                                        12.

      ALLEGATION: On April 7, 2016, at around 11 p.m., Defendant Carroll

stopped Ebner in Kennesaw, Georgia for failing to maintain lane because he

allegedly noticed that she was not in her lane as she made a left turn at an

intersection, on account of her navigating a curve.

      ANSWER: Defendants admit Defendant Officer Carroll stopped Plaintiff

Ebner based on probable cause for a traffic offense. Defendants deny all other

allegations in Paragraph 12.




                                         9
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 10 of 37




                                        13.

      ALLEGATION: After pulling Ebner over, Defendant Carroll proceeded to

subject Ebner to a humiliating field sobriety test based on his alleged observation

that she had watery eyes late at night. He did not smell marijuana, notice any

marijuana paraphernalia, and had no other reason to disbelieve Ebner when she told

him that she had never smoked marijuana and that her eyes were watery due to the

exposure to cleaning fluids from her work shift. At no time did Ebner present a

threat to public safety.

      ANSWER: Defendants deny the allegations contained in Paragraph 13.

                                        14.

      ALLEGATION: Defendant Carroll did not perform the 12-Step DRE

Protocol that was ostensibly created for the purpose of detecting whether someone

has been driving under the influence of drugs. Instead, he performed a watered-

down version of the test and arrested Ebner for driving under the influence of drugs.

      ANSWER: Defendants deny the allegations contained in Paragraph 14.

                                        15.

      ALLEGATION: After placing Ebner under arrest, Defendant Carroll told

Ebner that “Georgia law requires you to submit to state administered chemical tests

of your blood, breath, urine, or other bodily substances for the purpose of


                                         10
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 11 of 37




determining if you are under the influence of alcohol or drugs,” and that her refusal

would result in the suspension of her driver’s license for at least one year. Both

during and after her arrest, Ebner was confused, intimidated, and distressed. It was

unclear to Ebner whether she was being arrested for a crime, she knew she had done

nothing wrong, and she reasonably felt she had no choice but to agree to an invasive

blood draw in the hopes that she could be set free right away and be done with this

ordeal.

      ANSWER: Defendants admit to providing the appropriate implied consent

notice to Plaintiff. Defendants are without sufficient knowledge to admit or deny the

remaining allegations in Paragraph 15 regarding Plaintiff’s thoughts and, therefore,

deny said allegations.

                                        16.

      ALLEGATION: Afterwards, Ebner was taken to the police station.

Although DRE Protocol requires that a drug evaluation be done in a closed and

controlled environment, Defendant Carroll did not perform any DRE evaluation on

Ebner once she was taken to the police station.

      ANSWER: Defendants deny the allegations contained in Paragraph 16.




                                         11
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 12 of 37




                                       17.

       ALLEGATION: Ebner was held in jail all night for about 10 hours and was

not released until the morning.

       ANSWER: Defendants admit that Plaintiff Ebner was incarcerated.

Defendants deny all other allegations in Paragraph 17.

                                       18.

       ALLEGATION: At no point did Officer Carroll obtain a warrant or attempt

to obtain one.

       ANSWER: Defendants admit the allegations contained in Paragraph 18 as

Georgia law does not require one.

                                       19.

       ALLEGATION: Ebner’s blood draw results returned negative for

marijuana.

       ANSWER: Defendants admit the GBI crime lab report showed negative

results.

                                       20.

       ALLEGATION: Four months later, the prosecutor filed a dismissal of

Ebner’s DUI-drug charge.




                                        12
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 13 of 37




      ANSWER: Defendants admit the prosecutor filed a nolle prosequi as a result

of plea negotiations.

                                Princess Mbamara

                                        21.

      ALLEGATION: On March 25, 2016, at around 11 p.m., Defendant Carroll

stopped Plaintiff Princess Mbamara in Mabelton, Georgia, a town in Cobb County,

for failing to maintain her lane because he allegedly noticed that she was not in her

lane when she merged onto a different roadway.

      ANSWER: Defendants admit Defendant Officer Carroll stopped Plaintiff

Mbamara based on probable cause for a traffic offense. Defendants deny all other

allegations in Paragraph 21.

                                        22.

      ALLEGATION: After pulling Mbamara over, Defendant Carroll proceeded

to subject Mbamara to a humiliating field sobriety test based on his alleged

observation that she had bloodshot eyes late at night. He did not smell marijuana,

notice any marijuana paraphernalia, and had no other reason to disbelieve Mbamara

when she told him that she was lost and looking for directions. At no time did

Mbamara present a threat to public safety.

      ANSWER: Defendants deny the allegations contained in Paragraph 22.


                                         13
         Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 14 of 37




                                        23.

         ALLEGATION: Defendant Carroll did not perform the 12-Step DRE

Protocol that was ostensibly created for the purpose of detecting whether someone

has been driving under the influence of drugs. Instead, he performed a watered-

down version of the test and arrested Mbamara for driving under the influence of

drugs.

         ANSWER: Defendants deny the allegations contained in Paragraph 23.

                                        24.

         ALLEGATION: After placing Mbamara under arrest, Defendant Carroll told

Mbamara that “Georgia law requires you to submit to state administered chemical

tests of your blood, breath, urine, or other bodily substances for the purpose of

determining if you are under the influence of alcohol or drugs,” and that her refusal

would result in the suspension of her driver’s license for at least one year. Both

during and after her arrest, Mbamara was confused, intimidated, and distressed. It

was unclear to Mbamara whether she was being arrested for a crime, she knew she

had done nothing wrong, and she reasonably felt she had no choice but to agree to

an invasive blood draw in the hopes that she could be set free right away and be done

with this ordeal.




                                         14
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 15 of 37




      ANSWER: Defendants admit to providing the appropriate implied consent

notice to Plaintiff. Defendants are without sufficient knowledge to admit or deny

the remaining allegations in Paragraph 24 regarding Plaintiff’s thoughts and,

therefore, deny said allegations.

                                        25.

      ALLEGATION: Afterwards, Mbamara was taken to the police station.

Although the DRE Protocol requires that a drug evaluation be done in a closed and

controlled environment, Defendant Carroll did not perform any DRE evaluation on

Mbamara once she was taken to the police station.

      ANSWER: Defendants deny the allegations contained in Paragraph 25.

                                        26.

      ALLEGATION: Mbamara was held in jail all night for over 12 hours.

      ANSWER: Defendants admit that Plaintiff Mbamara was incarcerated.

Defendants deny all other allegations in Paragraph 26.

                                        27.

      ALLEGATION: At no point did Officer Carroll obtain a warrant or attempt

to obtain one.

      ANSWER: Defendants admit the allegations contained in Paragraph 27 as

Georgia law does not require one.


                                        15
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 16 of 37




                                         28.

       ALLEGATION:         Mbamara’s blood draw results returned negative for

marijuana.

       ANSWER: Defendants admit the GBI crime lab report showed negative

results.

                                         29.

       ALLEGATION: Five months later, the prosecutor filed a dismissal of the

DUI-drug charge.

       ANSWER:       Defendants admit the prosecutor filed a nolle prosequi as

probable cause existed, but the prosecutor did not believe the state could prove guilt

beyond a reasonable doubt.

                                Ayokunle Oriyomi

                                         30.

       ALLEGATION: On June 12, 2016, at around midnight, Plaintiff Ayokunle

Oriyomi was stopped in Kennesaw, Georgia, a city in Cobb County, by officer

Gregory Lane Johnson for failing to maintain his lane because Oriyomi’s car

allegedly drifted out of its lane, touched the white line, and then returned back into

his lane. Johnson called Carroll to the scene because Carroll was a certified DRE and

Johnson suspected Oriyomi of driving while impaired by marijuana.


                                         16
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 17 of 37




      ANSWER: Defendants admit Officer Johnson stopped Plaintiff Oriyomi

based on probable cause for a traffic offense and that he called Defendant Officer

Carroll to the scene to assist in the investigation. Defendants deny all other

allegations in Paragraph 30.

                                         31.

      ALLEGATION:          Defendant Carroll did not perform the 12-Step DRE

Protocol that was ostensibly created for the purpose of detecting whether someone

has been driving under the influence of drugs. Instead, he performed a watered-down

version of the test and arrested Oriyomi for driving under the influence of drugs. At

no time did Oriyomi present a threat to public safety.

      ANSWER: Defendants deny the allegations contained in Paragraph 31.

                                         32.

      ALLEGATION: After placing Oriyomi under arrest, Defendant Carroll told

Oriyomi that “Georgia law requires you to submit to state administered chemical

tests of your blood, breath, urine, or other bodily substances for the purpose of

determining if you are under the influence of alcohol or drugs,” and that his refusal

would result in the suspension of his driver’s license for at least one year. Both

during and after his arrest, Oriyomi was confused, intimidated, and distressed

because he knew that he was innocent and reasonably felt he had no choice but to


                                         17
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 18 of 37




agree to an invasive blood draw in the hopes that he could be set free right away and

be done with this ordeal.

      ANSWER: Defendants admit to providing the appropriate implied consent

notice to Plaintiff. Defendants are without sufficient knowledge to admit or deny the

remaining allegations in Paragraph 32 regarding Plaintiff’s thoughts and, therefore,

deny said allegations.

                                        33.

      ALLEGATION: Afterwards, Oriyomi was taken to the police station.

Although the DRE Protocol requires that a drug evaluation be done in a closed and

controlled environment, Defendant Carroll did not perform any DRE evaluation on

Oriyomi once he was taken to the police station.

      ANSWER: Defendants deny the allegations contained in Paragraph 33.

                                        34.

      ALLEGATION: Oriyomi was held in jail all night for about 9 hours, and

was not released until the morning.

      ANSWER: Defendants admit that Oriyomi was incarcerated. Defendants

deny all other allegations in Paragraph 34.

                                        35.

      ALLEGATION: At no point did Officer Carroll obtain a warrant or attempt


                                         18
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 19 of 37




to obtain one.

       ANSWER: Defendants admit the allegations contained in Paragraph 35 as

Georgia law does not require one.

                                         36.

       ALLEGATION:          Oriyomi’s blood draw results returned negative for

marijuana.

       ANSWER: Defendants admit the GBI crime lab report showed negative

results.

                                         37.

       ALLEGATION: The prosecutor eventually filed a dismissal of the DUI-

drug charge.

       ANSWER: Defendants admit the prosecutor filed a nolle prosequi for two of

the three charges as the prosecutor did not believe the state could prove guilt beyond

a reasonable doubt for those charges.

                                    Brittany Penwell

                                           38.

       ALLEGATION: On March 12, 2016, at around 10:30 at night, Plaintiff

Brittany Penwell was stopped in Austell, Georgia, a town in Cobb County, by

Defendant Carroll for failing to maintain her lane because she allegedly did not drive


                                         19
         Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 20 of 37




in a straight line on the roadway.

         ANSWER: Defendants admit Defendant Officer Carroll stopped Plaintiff

Penwell for probable cause. Defendants deny all other allegations in Paragraph 38.

                                        39.

         ALLEGATION: After pulling Penwell over, Defendant Carroll proceeded

to subject Penwell to a humiliating field sobriety test based on his alleged

observation that she had bloodshot eyes late at night. He did not smell marijuana,

notice any marijuana paraphernalia, and had no other reason to disbelieve Penwell

when she told him that she had never smoked marijuana and that she was just driving

back home to Tennessee. At no time did Penwell present a threat to public safety.

         ANSWER: Defendants deny the allegations contained in Paragraph 39.

                                        40.

         ALLEGATION:       Defendant Carroll did not perform the 12-Step DRE

Protocol that was ostensibly created for the purpose of detecting whether someone

has been driving under the influence of drugs. Instead, he performed a watered-

down version of the test and arrested Penwell for driving under the influence of

drugs.

         ANSWER: Defendants deny the allegations contained in Paragraph 40.




                                        20
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 21 of 37




                                         41.

      ALLEGATION: Both during and after her arrest, Penwell was confused,

intimidated, and distressed. It was unclear to Penwell whether she was being arrested

for a crime, she knew she had done nothing wrong, and she reasonably felt she had

no choice but to agree to an invasive blood draw in the hopes that she could be set

free right away and be done with this ordeal.

      ANSWER: Defendants are without sufficient knowledge to admit or deny

the allegations in Paragraph 41 regarding Plaintiff’s thoughts and, therefore, deny

said allegations.

                                         42.

      ALLEGATION: Afterwards, Penwell was taken to a facility for a blood

draw and then to the police station. Although the DRE Protocol requires that a drug

evaluation be done in a closed and controlled environment, no one performed any

DRE evaluation on Penwell either at the facility or the police station.

      ANSWER: Defendants deny the allegations contained in Paragraph 42.

                                         43.

      ALLEGATION: Penwell was held in jail all night and into the next day, and

was not released until 11 p.m. the next day—over 24 hours after she was stopped on

the road.


                                         21
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 22 of 37




       ANSWER:       Defendants admit that Penwell was incarcerated. Defendants

deny all other allegations in Paragraph 43.

                                        44.

       ALLEGATION: At no point did Officer Carroll obtain a warrant or attempt

to obtain one.

       ANSWER: Defendants admit the allegations contained in Paragraph 44 as

Georgia law does not require one.

                                        45.

       ALLEGATION:         Penwell’s blood draw results returned negative for

marijuana.

       ANSWER: Defendants admit the GBI crime lab report showed negative

results.

                                        46.

       ALLEGATION: Eventually, the prosecutor filed a dismissal of the DUI-

drug charge.

       ANSWER: Defendants admit a nolle prosequi was filed as the prosecutor did

not desire to prosecute.

                                        47.

       ALLEGATION: Defendant Carroll was never reprimanded or disciplined


                                         22
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 23 of 37




for failing to follow DRE Protocol or for making these arrests.

      ANSWER: As the above arrests were based on probable cause, Defendants

admit Defendant Officer Carroll was not reprimanded or disciplined for these

incidents. Defendants deny all other allegations in Paragraph 47.

                                         48.

      ALLEGATION: Defendant Carroll’s pattern and practice of enforcing DUI-

drug infractions was to arrest an individual based on nothing more than a hunch,

which would be invariably ratified by the results of an ad hoc smattering of tests he

administered which were divorced from any rigorous methodology and were without

the foundational underpinning necessary to amount to legal justification to arrest.

      ANSWER: Defendants deny the allegations contained in Paragraph 48.

                                         49.

      ALLEGATION: Defendant Carroll’s pattern and practice was to deviate

from the standard battery of tests set forth in the DRE Protocol—which themselves

have never been validated or vetted as a means to reliably detect impairment from

marijuana or any other kind of drug.

      ANSWER: Defendants deny the allegations contained in Paragraph 49.




                                         23
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 24 of 37




                                         50.

      ALLEGATION: Gregory Lane Johnson, then-Lieutenant Greg Abbott,

Major R.C. Sampson, Deputy Chief Ronnie Price, and then-Chief of Police John

Houser were aware and supportive of Defendant Carroll’s deviation from the

standard DRE Protocol.

      ANSWER: Defendants admit they were aware of Officer Carroll’s training

and procedures used to identify less safe drivers. Defendants deny all other

allegations contained in Paragraph 50.

                                         51.

      ALLEGATION: After Plaintiff Ebner was arrested for purportedly being

under the influence of marijuana, she filed a complaint with the Cobb County Police

Department about the incident. After review by Gregory Lane Johnson, then-

Lieutenant Greg Abbott, Major R.C. Sampson, and Deputy Chief Ronnie Price,

Ebner’s complaint was dismissed as meritless.

      ANSWER: Defendants admit an internal investigation was conducted as a

result of Ebner’s complaint and the results of the investigation speak for itself.

Defendants deny all other allegations contained in Paragraph 51.

                                         52.

      ALLEGATION: The dismissal of Plaintiff Ebner’s complaint, and the


                                         24
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 25 of 37




written justification therefor, constitute a ratification of Defendant Carroll’s actions

and the reasoning behind his actions. For example, the written report justifying the

exoneration of Plaintiff Ebner’s complaint against Defendant Carroll found that,

based on Defendant Carroll’s DRE experience, “there was more than enough

probable cause to arrest.”

      ANSWER: Defendants admit an internal investigation was conducted as a

result of Ebner’s complaint and the result of the investigation speaks for itself.

Defendants deny all other allegations contained in Paragraph 52.

                                          53.

      ALLEGATION: The dismissal of Plaintiff Ebner’s complaint, and the

written justification therefor, also constitute evidence of an existing policy and

practice of DUI-drugs arrests made without legal justification and a misplaced

reliance on so- called Drug Recognition Experts, even when they do not follow any

of the protocol upon which their supposed expertise is founded.

      ANSWER: Defendants deny all allegations in Paragraph 53.

                                          54.

      ALLEGATION: The report, which was authored by Gregory Lane Johnson,

and signed by then-Lieutenant Greg Abbott, Major R.C. Sampson, and Deputy Chief

Ronnie Price, continued to state that even if Defendant Carroll had known of the


                                          25
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 26 of 37




negative results of Plaintiff Ebner’s blood test at the time she was arrested,

nonetheless there would have been probable cause for her arrest.

      ANSWER: Defendants admit an internal investigation was conducted as a

result of Ebner’s complaint and the results of the investigation speak for itself.

Defendants deny all other allegations contained in Paragraph 54.

                                         55.

      ALLEGATION: Cobb County Police Department’s officially promulgated

policies or unofficial customs or practices have caused or contributed to these

violations. Such customs include recklessly bestowing “Drug Recognition Expert”

status to officers without proper training and oversight on when to conduct the 12-

Step DRE Protocol and how to conduct it.

      ANSWER: Defendants deny the allegations contained in Paragraph 55.

                                         56.

      ALLEGATION: The Cobb County Police Department has a custom or

practice of recklessly allowing officers artificially knighted with “Drug Recognition

Expert” status to falsely believe that they have a special and unique ability to detect

marijuana use, and their confirmation bias primes officers to see marijuana use

where it does not exist. In other words, the way that Cobb County Police Officers

such as Defendant Carroll are taught to and do administer their testing for the


                                          26
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 27 of 37




detection of impairment by drugs is designed to make innocent behavior appear

incriminating and to make exculpatory behavior appear irrelevant.

      ANSWER: Defendants deny the allegations contained in Paragraph 56.

                                        57.

      ALLEGATION: For example, on the Cobb County Police Department-

created Driver Impairment form, which was completed for each of the Plaintiffs,

there are ample opportunities for officers to check boxes corresponding to a variety

of supposedly inculpatory eye conditions (i.e. bloodshot, watery, glassy, dilated,

constricted) but no means to easily indicate and document that the subject’s eyes are

normal.

      ANSWER: Defendants deny the allegations contained in Paragraph 57.

                                        58.

      ALLEGATION: The police department also appears to have a custom or

practice of recklessly using these bad DUI arrests as an end-run to intimidate

arrestees into agreeing to have their blood drawn without obtaining a warrant: in

effect, creating a regime of randomized, warrantless blood testing imposed on many

innocent drivers, nearly all of whom have failed to maintain lane at some point in

their lives. Making matters worse, the Cobb County Police Department recklessly

incentivizes officers to maximize the number of DUI arrests regardless of whether


                                         27
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 28 of 37




those arrests were proper or lead to convictions and recklessly disregarding the

impact that their officers’ actions may have on innocent people.

      ANSWER: Defendants deny the allegations contained in Paragraph 58.

                                           59.

      ALLEGATION: The police department has also uncritically embraced the

DRE training and protocol which itself is deeply flawed. Among other flaws, the

DRE Protocol requires police officers to perform a medical exam, e.g., checking for

unusual pulse, eye nystagmus, and muscle tone and identifying whether those are

caused by drug use or any number of innocent medical explanations, when their

officers lack relevant medical training.

      ANSWER: Defendants deny the allegations contained in Paragraph 59.

                                           60.

      ALLEGATION: Much of the DRE Protocol has never been rigorously and

independently validated.

      ANSWER: Defendants deny the allegations contained in Paragraph 60.

                                           61.

      ALLEGATION: The Fourth Amendment does not give the police a blank

check to employ any means necessary to root out all crimes, anytime, anywhere—

especially when there is no public safety issue involved. In a battle between the


                                           28
        Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 29 of 37




Fourth Amendment’s protection against unreasonable searches and seizures and the

government’s zealous desire to aggressively root out all crime even if innocent

people suffer collateral damage in the process, the Fourth Amendment always wins.

        ANSWER:       Defendants aver the Fourth Amendment speaks for itself.

Defendants deny any other allegations contained in Paragraph 61.

                                 Causes of Action

                                   COUNT ONE

    Unlawful Seizure under 42 U.S.C. § 1983 by Plaintiffs Ebner, Mbamara and
                                   Penwell

                                         62.

        ALLEGATION: After pulling over Plaintiffs Ebner, Mbamara and Penwell

for failure to maintain lane, there was no justifiable basis, or arguable justifiable

basis, to prolong their detention by performing a field sobriety test by the side of the

road.

        ANSWER: Defendants deny the allegations contained in Paragraph 62.

                                           63.

        ALLEGATION: Based on the information known to Defendant Carroll at

the time of the seizure of Plaintiffs, no reasonable officer could have believed that

there was a justifiable basis to perform a field sobriety test.



                                           29
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 30 of 37




      ANSWER: Defendants deny the allegations contained in Paragraph 63.

                                          64.

      ALLEGATION: The illegal seizure of Plaintiffs Ebner, Mbamara and

Penwell was the proximate cause of Defendant Carroll’s decision to arrest them.

      ANSWER: Defendants deny the allegations contained in Paragraph 64.

                                          65.

      ALLEGATION: For the reasons given above, Defendant Carroll’s violation

was also caused, in whole or in part, by the Cobb County Police Department’s

official and/or unofficial policies, customs, or practices.

      ANSWER: Defendants deny the allegations contained in Paragraph 65.
                                   COUNT TWO

                False Arrest under 42 U.S.C. § 1983 by all Plaintiffs

                                          66.

      ALLEGATION: In arresting Plaintiffs and failing to properly perform the

DRE Protocol, Defendant Carroll falsely accused them of committing the offenses

of driving under the influence of marijuana, and placed them under detention for 9

to 12 hours without probable cause.

      ANSWER: Defendants deny the allegations contained in Paragraph 66.




                                          30
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 31 of 37




                                          67.

      ALLEGATION: In addition, no reasonable officer in Defendant Carroll’s

position could have believed that probable cause existed to arrest Plaintiffs.

      ANSWER: Defendants deny the allegations contained in Paragraph 67.

                                          68.

      ALLEGATION: In addition, the DRE Protocol is itself riddled with flaws,

based on discredited studies, and irresponsibly entrusts police officers with

performing essentially medical or scientific tests.

      ANSWER: Defendants deny the allegations contained in Paragraph 68.

                                          69.

      ALLEGATION: For the reasons given above, Defendant Carroll’s violation

was also caused, in whole or in part, by the Cobb County Police Department’s

official and/or unofficial policies, customs, or practices.

      ANSWER: Defendants deny the allegations contained in Paragraph 69.

                                  COUNT THREE

        Unlawful Search and Seizure under 42 U.S.C. § 1983 by all Plaintiffs

                                          70.

      ALLEGATION: After Plaintiffs were falsely arrested, they were confused,

intimidated, and distressed, and each of them reasonably felt compelled to submit to


                                          31
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 32 of 37




an invasive blood draw so that they may be released as quickly as possible.

      ANSWER: Defendants deny the allegations contained in Paragraph 70.

                                          71.
      ALLEGATION: In addition, no reasonable officer in Defendant Carroll’s

position could have believed that their “consent” to an invasive blood draw was

actually voluntary.

      ANSWER: Defendants deny the allegations contained in Paragraph 71.

                                          72.

      ALLEGATION: For the reasons given above, Defendant Carroll’s violation

was also caused, in whole or in part, by the Cobb County Police Department’s

official and/or unofficial policies, customs, or practices.

      ANSWER: Defendants deny the allegations contained in Paragraph 72.

                                   COUNT FOUR

           Malicious Prosecution under 42 U.S.C. § 1983 by all Plaintiffs

                                          73.

      ALLEGATION: Plaintiffs’ criminal prosecutions were initiated by

Defendants via a series of Uniform Traffic Citation, Summons, and Accusation

forms issued by Officer Carroll.

      ANSWER: Defendants deny the allegations contained in Paragraph 73.



                                          32
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 33 of 37




                                          74.

      ALLEGATION: Plaintiffs were detained pursuant to this initiation of legal

process, suffering the loss of liberty.

      ANSWER: Defendants deny the allegations contained in Paragraph 74.

                                          75.

      ALLEGATION: Plaintiffs further had their blood seized and searched

pursuant to initiated legal process.

      ANSWER: Defendants deny the allegations contained in Paragraph 75.

                                          76.

      ALLEGATION:            Plaintiffs’ criminal prosecutions were made without

probable cause or arguable probable cause.

      ANSWER: Defendants deny the allegations contained in Paragraph 76.

                                          77.

      ALLEGATION: Such prosecutions terminated in Plaintiffs’ favor when the

Cobb County prosecutors dropped their DUI charges and submitted motions to enter

nolle prosequi.

      ANSWER: Defendants deny the allegations contained in Paragraph 77.




                                          33
       Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 34 of 37




                                         78.

      ALLEGATION: The dismissals of Plaintiffs’ DUI charges are consistent

with their innocence of these charges.

      ANSWER: Defendants deny the allegations contained in Paragraph 78.

                                         79.

      ALLEGATION: As a result of their prosecutions, Plaintiffs suffered the loss

of liberty, extensive monetary losses, reputational damages, humiliation, and

emotional distress.

      ANSWER: Defendants deny the allegations contained in Paragraph 79.

                                         80.

      ALLEGATION: In addition, for the reasons stated above, these violations

were caused, in whole or in part, by the Cobb County Police Department’s official

and/or unofficial policies, customs, or practices.

      ANSWER: Defendants deny the allegations contained in Paragraph 80.

                               GENERAL DENIAL

      All allegations of the Complaint not specifically referred to herein are denied.

Defendants further deny that Plaintiff is entitled to any relief sought in his

Complaint.




                                          34
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 35 of 37




                         DEMAND FOR JURY TRIAL

     Defendants demand a trial by jury on all issues triable by jury.

      WHEREFORE, Defendants demand that the Complaint be dismissed,

judgment be entered in Defendants’ favor, all costs be cast upon Plaintiff, and that

Defendants have such other and further relief as this Court deems appropriate.

      Respectfully submitted this 30th day of November, 2017.

                       CERTIFICATE OF TYPE STYLE

      This document was prepared using Times New Roman 14 point font.

      This 30th day of November, 2017.

                                       COBB COUNTY ATTORNEY’S OFFICE
                                       Attorneys for Defendants

                                       By: /s/Eddie Snelling, Jr.
                                            EDDIE SNELLING
                                            Senior Associate County Attorney
                                            State Bar No. 665725
                                            H. WILLIAM ROWLING, JR.
                                            Assistant County Attorney
                                            State Bar No. 617225
                                            DEBORAH L. DANCE
                                            County Attorney
                                            State Bar No. 203765

100 Cherokee Street, Suite 350
Marietta, GA 30090
770-528-4000 (phone)
770-528-4010 (facsimile)



                                         35
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 36 of 37




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

KATELYN EBNER, PRINCESS                 )
MBAMARA, AYOKUNLE                       )
ORIYOMI and BRITTANY                    )
PENWELL,                                )
                                        )
      Plaintiffs,                       )      CIVIL ACTION NO.
                                        )      1:17-cv-03722-WSD
v.                                      )
                                        )
COBB COUNTY, through its                )
instrumentality the COBB COUNTY         )
POLICE DEPARMTENT; and                  )
OFFICER TRACY CARROLL a.k.a.            )
“T.T.” CARROLL, in his individual       )
capacity,                               )
                                        )
     Defendants.                        )
_____________________________           )


                          CERTIFICATE OF SERVICE

      It is hereby certified that I have this day electronically filed with the Clerk and

served a true and correct copy of Defendants’ Answer to the Complaint by using the

CM/ECF system which will automatically send e-mail notification of such filing to

the following attorney of record:
      Case 1:17-cv-03722-WSD Document 11 Filed 11/30/17 Page 37 of 37




            Sean J. Young                         Zack Greenamyre
            Aklima Khondoker                      MITCHELL & SHAPIRO LLP
            American Civil Liberties Union        3490 Piedmont Road
            Foundation of Georgia, Inc.           Suite 650
            P.O. Box 77208                        Atlanta, GA 30305
            Atlanta, GA 30357
      This 30th day of November, 2017.

                                    COBB COUNTY ATTORNEY’S OFFICE
                                    Attorneys for Defendants

                                    By:      /s/Eddie Snelling, Jr.
                                             EDDIE SNELLING, JR.
                                             Senior Associate County Attorney
                                             State Bar No. 664725

100 Cherokee Street, Suite 350
Marietta, GA 30090
770-528-4000 (phone)
770-528-4010 (facsimile
